OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:90CR085-02
                  ORRIN LAMAR JACKSON
                                                                       )   USM No: 08276-058
Date of Previous Judgment: November 26, 1990                           )   James S. Weidner, Jr.
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 460 months months is reduced to         335 months            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    40                 Amended Offense Level:                                        36
Criminal History Category: III                Criminal History Category:                                    III
Previous Guideline Range: 360  to Life months Amended Guideline Range:                                      235       to 293   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   In addition to the sentence at issue herein, the Defendant was sentenced to a consecutive term of
                     720 months which was imposed for his use/possession of firearms. That portion of the sentence
                     remains unaltered. Thus the Defendant’s total sentence is hereby adjusted from 1180 months to
                     1055 months.


III. ADDITIONAL COMMENTS
The Court determines the reduction in sentence to be the difference between the low end of the original guideline range
(360 months) and the low end of the amended guideline range (235 months), yielding a reduction in the amount of 125
months, which is deducted from the 460 months originally imposed for this charge, for a net of 335 months.


Except as provided above, all provisions of the judgment dated Nov. 26, 1990                       shall remain in effect.
IT IS SO ORDERED.

Order Date:        February 10, 2009


Effective Date:
                     (if different from order date)



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